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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

FCS ADVISORS, LLC,

                                   Plaintiff,

              —against—                                   21 Civ. 6995 (PKC)
THEIA GROUP, INC., d/b/a “THORIAN
GROUP” and/or “CYPHERIAN”; THEIA
AVIATION, LLC; and THEIA HOLDINGS
A, INC., d/b/a “THORIAN HOLDINGS,”


                                Defendants.



                   THIRD INTERIM REPORT OF RECEIVER
          (For the Period from February 22, 2022 through April 22, 2022)


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          Theia Group, Inc., Theia Aviation LLC, and Theia Holdings A, Inc.
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       Michael Fuqua, Court-appointed receiver (the “Receiver”) for Theia Group, Inc. (“TGI”),

Theia Aviation LLC, and Theia Holdings A, Inc. (collectively, the “Receivership Entities”),

submits this Status Report (the “Report”) for the period February 22, 2022 through April 22, 2022

(the “Reporting Period”) in accordance with the Order of this Court entered on November 8, 2021

(the “Receivership Order”), and for the purpose of reporting the status of the Receiver’s work and

findings during the Reporting Period. The facts presented in this Report are preliminary and may

be amended and changed as the Receiver’s investigation continues. This Report supplements the

initial status report [Doc. 135] submitted to the Court on December 22, 2021 and the second status

report submitted to the Court on February 22, 2022 (the “Second Report”) [Doc. 216]. This Report

includes the preliminary assessment of the Receiver’s counsel, Reed Smith LLP (“Reed Smith”)

and King & Spalding LLP (“K&S”), as well as the consultants and advisers retained by the

Receiver’s counsel, including GlassRatner Advisory & Capital Group, LLC d/b/a B. Riley

Advisory Services (“B. Riley”) and PJT Partners, LP (“PJT”).

I.     PROTECTING THE RECEIVERSHIP ESTATE ASSETS

       A. Extension of Receivership Stay

       On March 3, 2022, the Court entered an Order (the “Stay Extension Order”) extending the

stay imposed by the Receivership Order (the “Receivership Stay”) through and including

July 15, 2022, without prejudice to the Receiver’s right to request further extensions of the

Receivership Stay.    An extension of the Receivership Stay was necessary to preserve the

Receivership Entities’ assets and allow the Receiver to maximize the value of such assets for the

benefit of creditors by continuing the Receiver’s sale process outside of bankruptcy proceedings.

At the Receiver’s request, Reed Smith facilitated the filing of the Stay Extension Order in fifteen

(15) pending litigation matters.




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       B. Financial Account Records

       In response to subpoenas duces tecum served pursuant to Rule 45 of the Federal Rules of

Civil Procedure, the Receiver obtained account records (including details of wire transfers, account

and credit card/line of credit statements, and other related information) from Wells Fargo Bank,

National Association and PNC Bank, National Association. These records relate to certain

checking and credit card accounts previously identified by the Receiver as being held at each

respective financial institution in the name of TGI. Production of additional records requested by

the Receiver following the first batch of production is ongoing. In addition, the Receiver continues

to collaborate with JPMorgan Chase Bank in obtaining records related to accounts opened by the

Receivership Entities at that institution in connection with the receipt of a “Paycheck Protection

Program” loan from the federal Small Business Administration. Analysis of the Receivership

Entities’ application for, receipt of, and disbursement of proceeds from the “Paycheck Protection

Program” loan remains ongoing.

       C. Legal Files

       During the Reporting Period, the Receiver communicated with certain firms and attorneys

previously engaged by the Receivership Entities regarding turning over to the Receiver the firm’s

legal files concerning the Receivership Entities. To date, most firms have cooperated and

voluntarily turned over the requested files to the Receiver.

       D. Intellectual Property

       The Receiver continues to work with Frank J. Bonini, Jr., Esq. of Bonini Law to protect

the Receivership Entities’ domestic and international intellectual property filings (i.e., trademarks

and patents) by insuring the payment of renewal and other required fees and amounts due.




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       E. Executory Contracts, Leases, and Employment Agreements

       The Receiver continues to review the terms of over 160 executory contracts, leases, and

employment agreements to assess potential amounts due to third parties. The Receiver is in the

process of requesting that certain contract counterparties waive non-disclosure and confidentiality

provisions in their respective agreements with the Receivership Entities so that potential

purchasers of the Receivership Entities’ assets that have executed non-disclosure agreements

(“NDAs”) with the Receiver may review the terms of such agreements.

II.    DISPOSITION OF RECEIVERSHIP ESTATE ASSETS

       A. FCC and NOAA Licenses

       Since December 2021, the Receiver has worked with PJT to identify potential bidders for

assets of the Receivership Entities, including the spectrum license (the “FCC License”) granted to

TGI by the Federal Communications Commission (the “FCC”) and the license granted to TGI by

the National Oceanic and Atmospheric Administration (the “NOAA License”). PJT previously

(i) populated a virtual data room with relevant documents to allow potential bidders the

opportunity to conduct due diligence with respect to the FCC License, the NOAA License and

other assets, (ii) prepared marketing materials for the assets, and (iii) provided an interface with

counsel handling filings related to both licenses. PJT also worked with the Receiver, Reed Smith,

and in certain cases K&S, to prepare and negotiate NDAs for potential bidders.

       As part of Phase I of the process (the “Sale Process”) of selling the Receivership Entities’

assets, PJT reached out to over 50 potential purchasers. Twelve (12) interested parties executed

NDAs with the Receiver in order to gain access to a virtual data room hosted by PJT and conduct

further diligence with respect to the opportunity to bid on the assets, including the FCC License

and NOAA License. After a period during which those parties that executed NDAs conducted




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diligence, four (4) parties sent the Receiver written indications of interest to purchase all or some

of the Receivership Entities’ assets. The Receiver is in the process of beginning negotiations with

parties to establish a stalking horse bidder for Phase II of the Sale Process. Reed Smith, PJT, and

the Receiver also are preparing (subject to this Court’s approval) bidding procedures to be utilized

in connection with the Sale Process. The Receiver is engaged in dialogue with additional potential

purchasers and expects to receive additional bids in the future.

        The Receiver continues to maintain open lines of communication with the FCC and provide

regular updates to the FCC regarding the Sale Process. Akin Gump Strauss Hauer & Feld LLP

continues to represent the Receiver in connection with matters before the FCC and the Committee

on Foreign Investment in the United States.

        B. Aviation Assets

        In the event that the winning bidder in the Sale Process does not wish to purchase, among

other things, the Receivership Entities’ aircraft (one non-functional plane and one functional plane

on lease to a third party), sensing equipment, and a contract for the production of three (3) aircraft

with a substantial deposit (collectively, the “Aviation Assets”), the Receiver has been in

discussions with parties that seek to purchase only the Aviation Assets and related equipment.

The Receiver also continues negotiations for the sale of the functional aircraft with the current

lessee and has engaged three (3) appraisers to determine such aircraft’s value. In addition, the

Receiver requested proposals from three (3) asset liquidation firms to conduct an auction of the

non-functional aircraft and related equipment located in Riverside, California. With respect to the

aircraft in production, the Receiver also is considering a potential sale of the production contract

to a third party.




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          C. De Minimis Assets

          The sale of the office furniture remaining in the Receivership Entities’ Washington, D.C.

office, which the Receiver discussed in the Second Report, did not occur. The lessor of the

Washington D.C. office has indicated some interest in allowing the Receiver to abandon such

property.

III.      PRELIMINARY FORENSIC ANALYSIS / RECONCILIATION

          During the Reporting Period, the Receiver and his advisors continued their forensic

accounting activities with regard to the following areas:

       A. Receivership Sources & Uses of Funds

          The Receiver and B. Riley continue to refine the data with respect to the Receivership

Entities’ sources and uses of funds as more information is received from creditors and financial

institutions.

       B. Friends and Family Note Holder Analysis

          The Receiver and B. Riley completed a preliminary analysis of the “Friends and Family

Notes” and related information recovered from (i) the files of the Receivership Entities, (ii) files

held at Fried, Frank, Harris, Shriver & Jacobson LLP (“Fried Frank”), (iii) records provided to the

Receiver from holders of Friends and Family Notes, (iv) the Receivership Entities’ accounting

records, and (v) the Receivership Entities’ bank statements. Summarily, the results of the

preliminary analysis reflect that the Receivership Entities received approximately $77 million in

connection with 273 Friends and Family Notes issued by the Receivership Entities. The Receiver

notes that an individual or entity may hold multiple Friends and Family Notes, and accordingly,

the number of holders of Friends and Family Notes is less than 273.




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IV.        ONGOING INVESTIGATIONS

           A. Department of Justice Investigation

           During the Reporting Period, the United States Department of Justice (the “DOJ”), through

the U.S. Attorney’s Office for the District of Columbia, served two (2) additional Grand Jury

subpoenas upon the Receiver requesting further information. At great expense to the Receivership

Entities’ estates, the Receiver continues to cooperate with the DOJ with respect to these additional

information requests.

           B. FCS Counterclaims Investigation

           During the Reporting Period, the Receiver and his counsel, K&S, continued to investigate

the Receivership Entities’ counterclaims against FCS, Brevet Capital Management, LLC, Mark

Callahan, Robert Leeds, Leeds Holdings, LLC, and Strongbow Holdings, LLC (the

“Counterclaims”) filed in this case. Documents previously held by Fried Frank were made

available for review by the Receiver and K&S. The Receiver also interviewed Reid Gorman,

former Chief Financial Officer of the Receivership Entities, regarding the content of his

declaration supporting TGI’s Counterclaims. The Receiver is working with K&S to conclude the

investigation.

V.         MISCELLANEOUS

           The Receiver continues to receive and answer communications from holders of Friends

and Family Notes, consultants, vendors and other parties that may have an interest in the

Receivership Entities and this case.

           The Receiver continues to work with the payroll company formerly utilized by the

Receivership Entities to provide updated IRS Form W-2s and IRS Form 1099s to appropriate

parties.




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Dated: April 25, 2022
       New York, New York
                                   Respectfully submitted:

                                   REED SMITH LLP


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